CM/ECF NextGen Live 1.7.1.1 - U.S. District Court, Northern Illinois           https://ilnd-ecf.sso.dcn/cgi-bin/DktRpt.pl?123808199722138-L_1_0-1



                                          Query     Reports        Utilities     Help     What's New      Log Out


                                             United States District Court
                          Northern District of Illinois - CM/ECF NextGen 1.7.1.1 (Chicago)
                               CRIMINAL DOCKET FOR CASE #: 1:23-cr-00216-1


         Case title: USA v. Torres                                                    Date Filed: 04/17/2023

         Other court case number: 1:23-mj-162 Western District of                     Date Terminated: 04/17/2023
                                  Michigan


         Assigned to: Honorable Jeffrey Cole

         Defendant (1)
         Eduardo G. Torres                                             represented by Victor P. Henderson
         TERMINATED: 04/17/2023                                                       Henderson Parks, LLC
                                                                                      The Marquette Building
                                                                                      140 South Dearborn Street
                                                                                      Suite 1020
                                                                                      Chicago, IL 60603
                                                                                      (312) 262-2900
                                                                                      Email: vphenderson@henderson-
                                                                                      parks.com
                                                                                      LEAD ATTORNEY
                                                                                      ATTORNEY TO BE NOTICED

         Pending Counts                                                                 Disposition
         None

         Highest Offense Level (Opening)
         None

         Terminated Counts                                                              Disposition
         None

         Highest Offense Level (Terminated)
         None

         Complaints                                                                     Disposition
         18:3146.F Failure to Appear




1 of 3                                                                                                                       4/18/2023, 12:58 PM
CM/ECF NextGen Live 1.7.1.1 - U.S. District Court, Northern Illinois       https://ilnd-ecf.sso.dcn/cgi-bin/DktRpt.pl?123808199722138-L_1_0-1



         Plaintiff
         USA                                                 represented by Sushma Raju
                                                                            DOJ-USAO
                                                                            Northern District Illinois
                                                                            219 S. Dearborn Ave.
                                                                            Ste Fifth Floor
                                                                            Chicago, IL 60604
                                                                            312-353-3400
                                                                            Email: sushma.raju@usdoj.gov
                                                                            LEAD ATTORNEY
                                                                            ATTORNEY TO BE NOTICED
                                                                            Designation: Assistant US Attorney

                                                                            AUSA - Chicago
                                                                            United States Attorney's Office (NDIL - Chicago)
                                                                            219 South Dearborn Street
                                                                            Chicago, IL 60604
                                                                            Email: USAILN.ECFAUSA@usdoj.gov
                                                                            ATTORNEY TO BE NOTICED
                                                                            Designation: Assistant US Attorney

                                                                            Pretrial Services
                                                                            .
                                                                            (312) 435-5793
                                                                            Email:
                                                                            ilnptdb_Court_Action_Notice@ilnpt.uscourts.gov
                                                                            ATTORNEY TO BE NOTICED
                                                                            Designation: Pretrial Services


          Date Filed         # Docket Text
          04/15/2023             ARREST of defendant Eduardo G. Torres (axk, ) (Entered: 04/18/2023)
          04/17/2023         1 RULE 5(c)(3) Affidavit in Removal Proceedings signed by Judge Honorable Jeffrey Cole
                               as to Eduardo G. Torres (1) (axk, ) (Entered: 04/17/2023)
          04/17/2023         3 ORDER as to Eduardo G. Torres. Signed by the Honorable Jeffrey Cole on 4/17/2023.
                               Mailed notice. (axk, ) (Entered: 04/18/2023)
          04/17/2023         4 ORDER as to Eduardo G. Torres: Pursuant to Rule 5(f) of the Federal Rules of Criminal
                               Procedure, the court, with both the prosecutor and defense counsel present, reminded the
                               government of its obligations to disclose favorable evidence to the accused under Brady
                               v. Maryland, 373 U.S. 83 (1963). Favorable evidence under Brady need have only some
                               weight and includes both exculpatory and impeaching evidence. Failure to produce such
                               evidence in a timely manner may result in sanctions, including, but not limited to,
                               adverse jury instructions, dismissal of charges, and contempt proceedings. Signed by the
                               Honorable Jeffrey Cole on 4/17/2023. Mailed notice. (axk, ) (Entered: 04/18/2023)
          04/17/2023         5 COMMITMENT TO ANOTHER DISTRICT as to Defendant Eduardo G. Torres
                               committed to Western District of Michigan. Signed by the Honorable Jeffrey Cole on
                               4/17/2023. Mailed notice. (axk, ) (Entered: 04/18/2023)



2 of 3                                                                                                                   4/18/2023, 12:58 PM
CM/ECF NextGen Live 1.7.1.1 - U.S. District Court, Northern Illinois   https://ilnd-ecf.sso.dcn/cgi-bin/DktRpt.pl?123808199722138-L_1_0-1



          04/18/2023         2 ATTORNEY Appearance for defendant Eduardo G. Torres by Victor P. Henderson
                               (Henderson, Victor) (Entered: 04/18/2023)
          04/18/2023         6 CERTIFIED and Transmitted to Western District of Michigan via email the record
                               consisting of the transmittal letter. (axk, ) (Entered: 04/18/2023)




3 of 3                                                                                                               4/18/2023, 12:58 PM
